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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS



UL LLC,
                Plaintiff,
 -v-                                                   Case No. 1:24-cv-05631
                                                       Hon. Andrea R. Wood
JOSHUA CALLINGTON,
                Defendant.




       REPLY BRIEF IN FURTHER SUPPORT OF DEFENDANT'S
                 SPECIAL (ANTI-SLAPP) MOTION




 Dated: March 19, 2025


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                                    ARGUMENT

       The immunity conferred by Oregon’s anti-SLAPP statute applies to any

“statement made … [or] document presented,” in a “public forum” and “in connection

with an issue of public interest,” Or. Rev. Stat. § 31.150(2)(c). As explained in the

principal briefing on this motion, Mr. Callington’s communications and disclosures to

the New York Times qualify as protected conduct under the plain text of that

provision. 1 UL apparently concedes this much, or at least does not dispute the point

in its opposition.

       Instead, UL contends that its lawsuit stems from Mr. Callington’s alleged

“theft” of company documents “over a period of years,” before he ever engaged in any

protected activity. See Plaintiff UL LLC’s Opposition Brief (CM/ECF No. 39) (“Opp.”)

at 1, 7-8 (Page ID # 309, 315-16) (arguing that “this case is about … [the] covert and

unlawful theft of … documents from UL’s computer system…[which] is not a

protected activity under Oregon’s anti-SLAPP statute.”). From UL’s perspective,

       [The] claims are not predicated on Callington speaking to a reporter.
       Rather, UL’s claims are rooted in Callington’s unauthorized transfer of
       thousands of UL’s internal documents and ESI from UL’s secured
       computer system to Callington’s personal accounts, [which] is not … [a]
       protected activity.

Opp. 8 (Page ID # 316) (relying on Deep Photonics Corp. v. LaChapelle, 282 Or. App.

533, 546-547 (2016) for its distinction between claims that “arise out of” protected



       1 Mr. Callington’s conduct also qualifies as protected conduct under thecatch-
all provision, which broadly covers “[a]ny other conduct” undertaken “in furtherance
of” constitutionally protected “petition[ing]” activity or “free speech” on “public
issue[s]” or “issue[s] of public interest.” Or. Rev. Stat. § 31.150(2)(d).



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activity and those which are merely “associated with” a protected act); see also Opp.

7 (Page ID # 315) (“UL’s claims do not arise out of any protected activity but, instead,

were triggered by Callington’s unlawful and unapproved transfer and disclosure of

UL’s internal documents and ESI over a period of years.”).


I.     UL fails to articulate a theory of the case that isn’t necessarily
       premised on protected activity.

       To be clear, UL’s reformulation of the actionable conduct at issue in this case

stems from Mr. Callington’s allegedly “unapproved” transfer and disclosure of

company documents to himself—by and through the routine use of cloud-based

document management applications like Dropbox in the course of his employment

with the company. See Compl. ¶ 2 (Page ID # 1) (“Defendant, without UL’s knowledge

or approval, transferred the internal documents and information outside of UL’s

secure computer system and into his own personal email, Dropbox and iCloud

accounts.”); see also Compl. ¶¶ 49-52 (Page ID #14-15) (referring to Mr. Callington’s

allegedly improper means of accessing work files and email from his iPhone).

       This theory of the case fails for several reasons:

       1.    As an initial matter, UL’s attempt to recharacterize its claims as

deriving from “theft” as opposed to speech is inherently suspect, given the extent to

which UL’s complaint centers on Mr. Callington’s “covert assistance to the New York

Times and the resulting article.” Compl. ¶¶ 47-63 (Page ID # 15-16). See, e.g.,

CoreCivic, Inc. v. Candide Group, LLC, 46 F.4th 1136, 1143 (9th Cir. 2022);

Osundairo v. Geragos, 447 F. Supp. 3d 727, 743 (N.D. Ill. 2020).




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      2.     Even if reasonable minds could disagree about the focal point of that

narrative—UL plainly attributes all of its alleged damages to the “negative impact”

of the resulting article on “UL’s reputation with its customers, in the industry, and

within UL’s own work force.” Compl. ¶ 7, 8 (Page ID # 3). Mr. Callington is not accused

of misusing or misappropriating company documents for any other allegedly

improper purpose—aside from his protected statements and disclosures to the New

York Times. And UL does not challenge the truth or accuracy of those statements,

as would be necessary to recover reputational damages in a defamation action. Since

the Complaint does not offer any alternative theory of liability or damage causation,

all of UL’s claims necessarily derive from protected activity—or are otherwise facially

defective for failing to allege any actionable injury.

      3.     Moreover, the incendiary allegations surrounding Mr. Callington’s

allegedly “unapproved” use of Dropbox and other cloud-based software applications

are neither actionable--nor true.

      If the factual allegations relating to Mr. Callington’s protected activity are

stricken from the Complaint, all that is left is baseless accusations seeking to vilify

Mr. Callington’s routine adoption of ubiquitous cloud-based software and mobile

applications that millions of American professionals use to access work-related

emails and files across multiple devices. Absent some other credible allegation of

misuse or misappropriation, these allegations do not give rise to any cognizable cause

of action. and do not support a plausible inference that he engaged any “covert” plot

to “steal” company documents (Opp. 2-3, 9).




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      In any event, UL’s inflammatory narrative is demonstrably false. Mr.

Callington’s use of Dropbox was not covert or surreptitious, as UL insists. In fact, Mr.

Callington and other UL employees openly used Dropbox and other cloud-based

applications to manage workflows and carry out essential job functions throughout

the course of his seven-year tenure at the company. Indeed, Mr. Callington would not

even have been able to download Dropbox on his company-issued laptop, but-for the

approval and assistance of its IT department, which must authorize the bypassing of

default restrictions for the installation of any software program that isn’t already pre-

installed on company devices. 2

      Although Mr. Callington does not bear the evidentiary burden on this motion,

the real-world consequences of these baseless allegations on his professional

reputation compel him to do so—even if only for the purpose of countering the more

easily refutable aspersions cast on his character. To that end, attached as Exhibit A

is an assortment of email communications which demonstrate that Mr. Callington’s

use of Dropbox was wholly transparent, routine, unobjectionable, and consistent with

his colleagues’ use of the same software in their day-to-day job functions.




      2 To the extent that UL faults Mr. Callington for refusing to delete documents

from his personal devices at the company’s insistence, those allegations notably fail
to acknowledge the circumstances surrounding that demand—which arose in the
context of an investigation that was clearly adverse to Mr. Callington, and which he
responded to in a manner consistent with the advice of his counsel. Accordingly, Mr.
Callington’s refusal to destroy evidence at UL’s request was entirely reasonable and
consistent with his document preservation obligations arising from the highly
foreseeable risk of future litigation.


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      II.      UL has not and cannot substantiate any of its claims on the
               merits.

      Meanwhile, UL has plainly failed to rebut Mr. Callington’s prima facie showing

of protected activity by satisfying its own evidentiary burden under the second prong

of the relevant burden-shifting inquiry.

      Instead, UL rests its laurels on boilerplate language about liberal pleading

standards. See Opp. 9 (arguing that the motion “should … be denied under the second

prong” because of the “low bar” for establishing some probability of prevailing on the

merits); Opp. 10 (“at the pleading stage, a plaintiff ‘can describe trade secret

information in general terms.”).

      However low that standard may be, UL fails to satisfy it by any measure.

Despite having been given every opportunity to substantiate its claims, UL has

continually refused to identify any trade secret that Mr. Callington allegedly

possessed, either through misappropriation or otherwise.

      Nor has it offered up any alternative theories of liability that would sustain

any of its other causes of action, based on allegations that aren’t necessarily premised

on Mr. Callington’s protected activities or baseless accusations surrounding his use

of Dropbox and other ubiquitous cloud-based software applications.

      III.     The case bears all the characteristic indicia of a strategic
               lawsuit against public participation.

      Finally, UL’s retaliatory lawsuit bears all the characteristic indicia of litigation

which anti-SLAPP laws seek to prevent. The lawsuit was indisputably triggered by

the publication of an article concerning the dubious nature of UL’s social compliance

audits,     based   on   information   derived   from   protected   journalistic   source


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communications. The inflammatory narrative has successfully wreaked havoc on Mr.

Callington’s personal and professional interests—irrespective of the merits (or lack

thereof)—and sends a clear message to other UL employees about the consequences

of not towing the party line. And, as a result, Mr. Callington has been forced to bear

the burden of defending himself in litigation against a far more powerful and well-

resourced institutional adversary—all whilst facing the reality of reduced income and

job prospects due to blacklisting effects of UL’s reputational assault on his character.

While not necessarily featured in the two-step burden shifting analysis, the practical

consideration of these real-world consequences is wholly consistent with the purpose,

intent, and policy goals anti-SLAPP law.

                                   CONCLUSION

      For these reasons, Defendant respectfully requests an order granting his

special motion and awarding attorneys’ fees and costs as provided by statute.


      Dated: March 19, 2025
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